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 1   DAVID H. KRAMER, SBN 168452               BRIAN M. WILLEN (admitted pro hac)
     WILSON SONSINI GOODRICH & ROSATI          BENJAMIN D. MARGO (admitted pro hac)
 2   Professional Corporation                  WILSON SONSINI GOODRICH & ROSATI
     650 Page Mill Road                        Professional Corporation
 3   Palo Alto, CA 94304-1050                  1301 Avenue of the Americas, 40th Floor
     Telephone: (650) 493-9300                 New York, NY 10019-6022
 4   Facsimile: (650) 565-5100                 Telephone: (212) 999-5800
     Email: dkramer@wsgr.com                   Facsimile: (212) 999-5801
 5                                             Email: bwillen@wsgr.com
     LAUREN GALLO WHITE, SBN 309075            Email: bmargo@wsgr.com
 6   AMIT Q. GRESSEL, SBN 307663
     WILSON SONSINI GOODRICH & ROSATI          STEFFEN N. JOHNSON (admitted pro hac)
 7   Professional Corporation                  WILSON SONSINI GOODRICH & ROSATI
     One Market Plaza                          Professional Corporation
 8   Spear Tower, Suite 3300                   1700 K Street NW, Fifth Floor
     San Francisco, CA 94105-1126              Washington, DC 20006-3817
 9   Telephone: (415) 947-2000                 Telephone: (202) 973-8800
     Facsimile: (415) 947-2099                 Facsimile: (202) 973-8899
10   Email: lwhite@wsgr.com                    Email: sjohnson@wsgr.com
     Email: agressel@wsgr.com
11                                             Attorneys for Defendants
                                               YOUTUBE, LLC and SUNDAR PICHAI
12

13                              UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                    OAKLAND DIVISION

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17   DONALD J. TRUMP, KELLY VICTORY,            )   CASE NO.: 4:21-cv-08009-JSW
     AUSTEN FLETCHER, AMERICAN                  )
18   CONSERVATIVE UNION, ANDREW                 )   NOTICE OF CHANGE IN COUNSEL
     BAGGIANI, MARYSE VERONICA JEAN-            )
19   LOUIS, NAOMI WOLF, and FRANK               )   Hon. Jeffrey S. White
     VALENTINE,                                 )
20                                              )
                 Plaintiffs,                    )
21                                              )
           v.                                   )
22                                              )
     YOUTUBE, LLC and SUNDAR PICHAI,            )
23                                              )
                 Defendants.                    )
24                                              )
                                                )
25                                              )
                                                )
26                                              )

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     NOTICE OF CHANGE IN COUNSEL                               CASE NO.: 4:21-CV-08009-JSW
        Case 4:21-cv-08009-JSW Document 149 Filed 03/22/22 Page 2 of 2



 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE, pursuant to Civil Local Rule 5-1(c)(2)(C), that MENG JIA

 3   YANG has ceased to be involved as counsel in this case and withdraws as attorney of record for

 4   Defendants YouTube, LLC and Sundar Pichai. She should be removed from the Court’s service

 5   list for this case. Defendants will retain representation by the other listed counsel of record at

 6   Wilson Sonsini Goodrich & Rosati, P.C.

 7

 8                                                       Respectfully submitted,

 9   Dated: March 22, 2022                               WILSON SONSINI GOODRICH & ROSATI
                                                         Professional Corporation
10

11                                                       By:    /s/ Lauren Gallo White
                                                                Lauren Gallo White
12                                                              lwhite@wsgr.com
13                                                       Attorneys for Defendants
                                                         YOUTUBE, LLC AND SUNDAR PICHAI
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     NOTICE OF CHANGE IN COUNSEL                         -1-               CASE NO.: 4:21-CV-08009-JSW
